
PAINTER, Judge.
hFor the reasons set forth in the companion case hereto, Pine Prairie Energy Center, L.L.C. And Plains Marketing, L.P. v. Eddie Soileau, Sheriff And Ex Officio Tax Collector, Parish Of Evangeline, State Of Louisiana and Dirk Deville, Assessor, Evangeline Parish, State Of Louisiana, 14-5 c/w 14-142, (La.App. 3 Cir. 6/11/14), 141 So.3d 367, 2014 WL 2853911, the judgment of the trial court is affirmed. Costs of this appeal are assessed to Defendants-Appellants, Eddie Soileau, Sheriff and Ex Officio Tax Collector for Evangeline Parish, and Dirk De-ville, Assessor for Evangeline Parish.
AFFIRMED.
COOK, J., dissents.
